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                                               08/30/22 Page
                                                        Page11of
                                                              of22PageID
                                                                  PageID#:
                                                                         #:1348
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                          EXHIBIT 9
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Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB Document
                          Document99-14
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                                         Filed01/26/23
                                               08/30/22 Page
                                                        Page22of
                                                              of22PageID
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